@JS 45 (5/97) - (Revised USED L. MA-045202812-DPW Document 252-1 Filed 07/19/12 Page 1 of 10

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. l Investigating Agency FBI
City Boston Related Case Information:

County Suffolk Superseding Ind./ Inf. Yes Case No. _11-10212-JLT

Same Defendant Yes Defenda

Magistrate Judge Case Number { Woe id ct
Search Warrant Case Number
R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

Defendant Name ohn Willis Juvenile: [_] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name Bac Guai John
Address {City & State) Malden, MA
Birth date (Yr only): 1971 SSN (last4#): 3485 Sex M Race: White Nationality:
Defense Counsel if known: R. Bradford Bailey Address 4 Longfellow Place

 

 

Suite 3501, 35fh Floor
Boston, MA 02114

Bar Number

 

 

U.S. Attorney Information:

 

 

 

AUSA Timothy E. Moran Bar Number if applicable
Interpreter: [| Yes No List language and/or dialect:
Victims: [_ lves No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [ | Yes No
(_ |Warrant Requested [| Regular Process In Custody

Location Status:

 

 

 

 

 

 

Arrest Date May 27, 2011

[V | Already in Federal Custody as of 5/27/2011 in

[ ]Already in State Custody at [_ ]Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [ |complaint [__|Information Indictment

Total # of Counts: [_ ]Petty — L_]Misdemeanor _OoO Felony

Continue on Page 2 for Entry of U.S.C. Citations

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Case 1:11-cr-10212-DPW Document 252-1 Filed 07/19/12 Page 2 of 10

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):
NameofDefendant John Willis

Index Key/Code

Set] 21 U:S-C- §846

 

U.S.C. Citations

Description of Offense Charged Count Numbers
Conspiracy to Distribute Oxycodone 1-S

 

21 U.S.C. §1956(h)
Set 2

Money Laundering 2-S

 

21 U.S.C. §853
Set 3

Drug Trafficking Forfeiture

 

srg 21 U-S.C. §982(a)(1)

Money Laundering Forfeiture

 

21 U.S.C. §2

Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. H Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind./ Inf. Yes CaseNo, _11710212-JLT
Yes
Magitate fudge Case Number MA 2 "gf

 

Search Warrant Case Number
R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

Defendant Name Brant Welty Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address _(City & State) Boston, MA
Birth date (Yr only): aa SSN (last4#): 7898 Sex M Race: White Nationality:
Defense Counsel if known: Kevin L. Barron Address 92 State Street, 6th Floor

 

 

Boston, MA 02109

Bar Number

 

 

U.S. Attorney Information:

 

 

 

AUSA Timothy E. Moran Bar Number if applicable
Interpreter: [| Yes No List language and/or dialect:
Victims: [Wes No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [] Yes No
C] Warrant Requested [ | Regular Process [| In Custody

Location Status:

 

 

 

 

 

 

Arrest Date May 27, 2011

[_ ]Already in Federal Custody as of 6/15/2011 in

|] Already in State Custody at [_ |serving Sentence [Awaiting Trial
[Ylon Pretrial Release: | Ordered by: USMJ Jennifer C. Boal on 8/19/11

Charging Document: [_]Complaint [Information Indictment

Total # of Counts: [ ]Petty —_—— [_|Misdemeanor —_—— Felony

Continue on Page 2 for Entry of U.S.C. Citations

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accurately set fyrth above. 4
Date: “) [A [vy Signature of AUSA: | Y]
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Case 1:11-cr-10212-DPW Document 252-1 Filed 07/19/12 Page 4 of 10
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):
Name of Defendant Brant Weity

Index Key/Code

Set} 21 U-S.C. §846

 

U.S.C. Citations

Description of Offense Charged Count Numbers
Conspiracy to Distribute Oxycodone =_'1-S

 

ery 21 U-S.C. §1956(h)

Money Laundering 2-S

 

21 U.S.C. §853
Set 3

Drug Trafficking Forfeiture

 

sng 21 U.S.C. §982(a)(1)

Money Laundering Forfeiture

 

21 U.S.C. §2

Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. LL Investigating Agency FBI

City Boston Related Case Information:

County Suffolk Superseding Ind./ Inf. Yes Case No, _11710212-JLT
Same Defendant Yes N Defenda

 

Magistrate Judge Case Number
Search Warrant Case Number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R 20/R 40 from District of
Defendant Information:
Defendant Name Michael Clemente Juvenile: ["] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name Ricky Martin
Address (City & State) Sunrise, FL
Birth date (Yr only): 1979 SSN (last4#): 2058 Sex M Race: Hispanic Nationality:
Defense Counsel if known: James J. Cipoletta Address 200 Broadway
Bar Number Suite 307
U.S. Attorney Information: Revere, MA 02151
AUSA Timothy E. Moran Bar Number if applicable
Interpreter: [| Yes No List language and/or dialect:
Victims: [_ lYes No [fyes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [| No
Matter to be SEALED: [] Yes No
[- |Warrant Requested | Regular Process [| In Custody
Location Status:
Arrest Date May 27, 2011
[" ]Already in Federal Custody as of in
[Already in State Custody at [_ |Serving Sentence [" Awaiting Trial
[Vlon Pretrial Release: Ordered by: USMJ Jennifer C. Boal on 6/14/2011
Charging Document: [| Complaint [| Information Indictment
Total # of Counts: [| Petty or [__]Misdemeanor __ Felony

Continue on Page 2 for Entry of U.S.C. Citations

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accurately set forth above.

Date: “i ( 4 { / 4—~ Signature of AUSA: | ~
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Case 1:11-cr-10212-DPW Document 252-1 Filed 07/19/12

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 6 of 10

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Michael Clemente

 

Index Key/Code

Set | 21 U-S-C- §846

U.S.C. Citations

Description of Offense Charged
Conspiracy to Distribute Oxycodone

Count Numbers

1-S

 

21 U.S.C. §1956 (h)
Set 2

Money Laundering

2-S

 

21 U.S.C. §853
Set 3

Drug Trafficking Forfeiture

 

erg 21 U-S.C. §982 (a)(1)

Money Laundering Forfeiture

 

21 U.S.C. §2
Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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@JS 45 (5/97) - (Revised@SH.6: MAsHsAQB12-DPW Document 252-1 Filed 07/19/12 Page 7 of 10
Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

{| FBI

Place of Offense: Category No. Investigating Agency

City Boston Related Case Information:

Superseding Ind./ Inf. Yes Case No. 11-10212-JLT
Same Defendant Yes moe Bee a

Magistrate Judge Case ase Number _ foto

Search Warrant Case Number

R 20/R 40 from District of

 

County Suffolk

 

 

 

Defendant Information:

 

 

 

 

 

Defendant Name Mark Thompson Juvenile: [] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address _(City & State) Davie, FL
Birth date (Yr only): 1982 ssn (lasta#); 9064 sex Mace; Black Nationality:
Defense Counsel if known: Samuel B. Goldberg Address 689 Massachusetts Avenue
Bar Number Cambridge,MA 02139

 

 

U.S. Attorney Information:
AusA __|imothy E. Moran

 

 

 

 

 

 

 

 

 

Bar Number if applicable

Interpreter: [| Yes No List language and/or dialect:
Victims: [" Wes No_ If yes, are there multiple crime victims under 18 USC§3771(d)(2) [] Yes [J No
Matter to be SEALED: [| Yes No

(_ |Warrant Requested [| Regular Process [| In Custody
Location Status:
Arrest Date May 27, 2011
[_]Already in Federal Custody as of in
[_] Already in State Custody at [_ Serving Sentence [Awaiting Trial
[Vlon Pretrial Release: | Ordered by: USM4J Jennifer C. Boal on June 14, 2011
Charging Document: [| Complaint | Information Indictment
Total # of Counts: | }Petty oo [Misdemeanor —_——— Felony

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I hereby certify that the case numbers of any prior progeedings before strate Judge are
accurately set fgrth P Oy:
Date: al 4 lt Signature of AUSA:

 

 
 

Case 1:11-cr-10212-DPW Document 252-1 Filed 07/19/12 Page 8 of 10

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Mark Thompson

 

Index Key/Code

Set] 21 U-S.C. §846

U.S.C. Citations

Description of Offense Charged Count Numbers
Conspiracy to Distribute Oxycodone = 1-S

 

cery 21 U-S.C. §1956(h)

Money Laundering 2-S

 

21 U.S.C. §853

Set 3

Drug Trafficking Forfeiture

 

cen 21 U.S.C. §982(a)(1)

Money Laundering Forfeiture

 

21 U.S.C. §2

Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 1}!

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. I Investigating Agency FBI
City Boston Related Case Information:
County Suffolk Superseding Ind_/ Inf. Yes Case No, _11-10212-JLT
Same Defendant Yes NeW) Defendant = A
Magistrate Judge Case Number VEC —

 

Search Warrant Case Number
R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

Defendant Name Bridget Welty Juvenile: [ Yes No
Is this person an attorney and/or a member of any state/federal bar: [ Yes No
Alias Name
Address (City & State) Boston, MA
Birth date (Yr only): 1973 SSN (last4#): 9894 Sex FL Race: White Nationality:
Defense Counsel if known: Mark D.Smith Address 101 Federal Street

 

 

Suite 650

Bar Number

 

 

Boston,MA 02110

U.S. Attorney Information:

 

 

 

AUSA Timothy E. Moran Bar Number if applicable
Interpreter: [ Yes No List language and/or dialect:
Victims: [_]ves[¥]No ifyes, are there multiple crime victims under 18 USC§3771(4(2)_ [_] Yes [_]No
Matter to be SEALED: [ ] Yes No
[ }Warrant Requested [| Regular Process [ In Custody

Location Status:

 

 

 

 

 

 

Arrest Date May 27, 2011

[ ]Already in Federal Custody as of in

L_JAtready in State Custody at [_ |Serving Sentence [Awaiting Trial
[Yon Pretrial Release: | Ordered by: USMJ Jennifer C. Boal on 6/2/2011

Charging Document: [|Complaint [Information Indictment

Total # of Counts: [_ ]Petty —_— [_]Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceegings before a Hiagistrate Judge are
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Date: /) \ A 7T- Signature of AUSA: Jw )
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Case 1:11-cr-10212-DPW Document 252-1 Filed 07/19/12 Page 10 of 10
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Bridget Welty

Index Key/Code

Set | 21 U.S.C. §846

U.S.C. Citations

Description of Offense Charged Count Numbers
Conspiracy to Distribute Oxycodone = 1-S

 

21 U.S.C. h
seg 21 U-8.C. §1956(h)

Money Laundering 2-S

 

21 U.S.C. §853
Set 3

Drug Trafficking Forfeiture

 

weg 21 U-S.C. §982 (a)(1)

Money Laundering Forfeiture

 

21 U.S.C. §2

Set 5

Aiding and Abetting

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

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